
      1
     G.R., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children S.R., C.R., Jas.R., Jad.R., and Z.R., and Concerning S.W. No. 25SC68Supreme Court of Colorado, En BancMarch 10, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA817
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    